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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re:                                           Chapter 15

 PB LIFE AND ANNUITY CO., LTD., et                Case No. 20-12791 (LGB)
 al.,
                                                  (Jointly Administered)
      Debtors in Foreign Proceedings.


 JOHN JOHNSTON and EDWARD                         Adv. Proc. No. 23-01000 (LGB)
 WILLMOTT, as Joint Official Liquidators
 on behalf of PB LIFE AND ANNUITY
 CO., LTD., and as Joint Provisional
 Liquidators on behalf of NORTHSTAR
 FINANCIAL SERVICES (BERMUDA)
 LTD., OMNIA LTD., and PB
 INVESTMENT HOLDINGS LTD. and PB
 LIFE AND ANNUITY CO., LTD.,
 NORTHSTAR FINANCIAL SERVICES
 (BERMUDA) LTD., OMNIA LTD., and
 PB INVESTMENT HOLDINGS LTD.,

      Plaintiffs,

 v.

 GREGREY EVAN LINDBERG A/K/A
 GREG EVAN LINDBERG, et al.,

      Defendants.


          THIRD AMENDED SCHEDULING ORDER FOR MOTIONS TO DISMISS

          WHEREAS, on November 16, 2023, the Court entered the Scheduling Order for Motions

to Dismiss (the “Scheduling Order”) [ECF No. 182], establishing a briefing schedule for any

outstanding motions to dismiss filed by the Exhibit A Defendants and/or Consenting Defendants

(the “Applicable Defendants”) in response to the Amended Complaint; and



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       WHEREAS, on December 15, 2023, the following motions to dismiss were filed: (i) 763

Defendants’ Motion to Dismiss Plaintiffs’ Amended Complaint and Alternative Motion to Stay

[ECF Nos. 209 & 210] (the “Lindberg et al. MTD”); (ii) Edwards Mill Asset Management’s

Motion to Dismiss Amended Complaint [ECF No. 212] (the “EMAM MTD”); and (iii) Pavonia

Life Insurance Company of Michigan and Axar Capital Management L.P.’s Motion to Dismiss

Amended Complaint [ECF Nos. 215, 216] (the “Pavonia and Axar MTD”); and

       WHEREAS, on February 13, 2024, the Court entered the Amended Scheduling Order for

Motions to Dismiss (“Amended Scheduling Order”) [ECF No. 256], ordering that the May 21,

2024 hearing on the motions to dismiss be held in person; and

       WHEREAS, on February 14, 2024, the Plaintiffs filed the Restated Amended Complaint

[ECF No. 257]; and

       WHEREAS, on February 15, 2024, the Court entered the Second Amended Scheduling

Order for Motions to Dismiss (“Second Amended Scheduling Order”) [ECF No. 264], ordering

that the Scheduling Order, Amended Scheduling Order, and the Second Amended Scheduling

Order apply to the Restated Amended Complaint; and

       WHEREAS, on March 15, 2024, Plaintiffs filed their opposition to each of the Lindberg

et al. MTD, EMAM MTD, and Pavonia and Axar MTD; and

       WHEREAS, on April 15, 2024, Plaintiffs’ counsel filed a letter requesting an adjournment

of the May 21, 2024 hearing pertaining to the Lindberg et al. MTD and EMAM MTD [ECF No.

309]; and

       WHEREAS, on April 19, 2024, a status conference was held to address Plaintiffs’ letter

request.




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       IT IS HEREBY ORDERED THAT:

       1. The May 21, 2024 hearing concerning the Lindberg et al. MTD, EMAM MTD, and

          Pavonia and Axar MTD is adjourned to September 24, 2024 at 10:00 a.m. in person.

       2. The April 30, 2024 deadline to file the respective replies in support of the Lindberg et

          al. MTD, EMAM MTD, and Pavonia and Axar MTD is hereby extended to September

          6, 2024.

       3. Except as expressly modified herein, the Scheduling Order, Amended Scheduling

          Order, and Second Amended Scheduling Order remain in full force and effect.

       4. The Court retains jurisdiction with respect to all matters arising from or related to the

          implementation of this Order.



Dated: April 17, 2024                SO ORDERED


                                             /s/ Lisa G. Beckerman
                                             THE HONORABLE LISA G. BECKERMAN
                                             UNITED STATES BANKRUPTCY JUDGE




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